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LAB0321
(FLU:VC)
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, HON. WILLIAM J. MARTINI
Plaintiff, Criminal Ne. 04-786
Vv. ORDER FOR
REMISSION OF FINE
OMAR DHANANI,
Defendant.

 

This matter having been opened to the Court by Paul J. Fishman, United States Attorney for
the District of New Jersey (Leah A. Bynon, Assistant U.S. Attorney, appearing), and the Court
having considered the Petition for Remission of Fine, and for good cause shown,

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IT JS on this PI / 7. day of

ORDERED, that the balance of the fine imposed on August 23, 2006, in the amount of

» 2009,

 

$1,075.00 is hereby remitted.

BZ te

WILELAM HMARTIN
UNIPEPSTATES DISTRICT JUDGE

 
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LABO321
(FLU:VC)
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, HON. WILLIAM J. MARTINI
Plaintiff, Criminal No. 04-786
v. PETITION FOR REMISSION
OF FINE
OMAR DHANANI,
Defendant.

 

The United States hereby petitions this Court for remission of $1,075.00 still due on the fine
imposed upon defendant on August 23, 2006. This request is made in accordance with Title 18,
United States Code, Section 3573 which provides in pertinent part:

Upon petition of the government showing that reasonable efforts to
collect a fine or assessment are not likely to be effective, the court

may, in the interest of justice--

(1) remit all or part of the unpaid portion of the fine or special
assessment, including interest and penalties;

18 ULS.C, § 3573, as amended.

This request of the United States is based upon the following:

 
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1. The fine has been imposed for a period of 3 years; to date payments in the amount of
$25.00 have been made toward this fine.

2. The United States Attorney has been unable to collect this fine because the defendant
has been deported to Canada.

3. The United States Attorney has determined that there is no reasonable likelihood that
further efforts to collect this fine would produce any revenue to the United States. Any further efforts
would, in fact, be contrary to the interests of the United States because such efforts would needlessly
expend resources that could be better directed to areas with greater potential for recovery.

THEREFORE, the United States Attorney respectfully petitions this court for an order

pursuant to 18 U.S.C, § 3573, as amended, remitting the fine, including interest and penalties.

Respectfully submitted,

PAUL J. FISHMAN
United States Attorney

 

By: LEAH &, BYNON
Assistant U.S. Attorney

 

 
